       Case 1:21-cv-07395-RA-KHP Document 78 Filed 01/04/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 FRHUEB, INC.                                       Civil Action No.: 1:21-cv-07395

                            Plaintiff,

 v.

 THIAGO SABINO DE FREITAS ABDALA
 and PRISCILA PATTO
                    Defendants.



______________________________________________________________________________

   ORDER ENTERING INTERIM RESOLUTION OF PLAINTIFF’S INJUNCTION
                                APPLICATION
 ____________________________________________________________________________

       THIS MATTER, having been opened to the Court by Counsel for Plaintiff, Archer &

Greiner, P.C., for the entry of an Order to Show Cause seeking temporary restraints on

Defendants Thiago Sabino De Freitas Abdala and Priscila Patto (“Defendants”) based upon the

facts set forth in Plaintiff’s Memorandum of Law in Support of this Application, Declaration of

Rihen Mehta dated October 20, 2021, with exhibits, Declaration of Patrick Papalia dated October

20, 2021, with exhibits, later combined into a temporary injunction and preliminary injunction

application, all opposed by Defendants, and Plaintiff and Defendants (collectively, the “Parties”)

having agreed to an interim temporary and preliminary injunction to facilitate settlement

discussions, and the Court having reviewed and approved of the terms of the interim agreement

and good cause having been shown;

       IT IS on this 4th day of January, 2022:

       ORDERED that:
       Case 1:21-cv-07395-RA-KHP Document 78 Filed 01/04/22 Page 2 of 2




               1.      Defendants will not use the terms HUEB NEW YORK, HUEB, FR HUEB,

or H Stylized as a trademark in connection with the sale of jewelry for the period of time to March

23, 2022.

               2.      Defendants are permitted to use Hueb, as their surname along with their

names “Thiago” and “Priscila”, during the pendency of this order. Thiago and Priscila may

represent themselves as “Thiago Hueb” and “Priscila Hueb” but will not use “Hueb” in any other

form in connection with the sale of jewelry, during the pendency of this order, and the Defendants

shall not create any association or connection between themselves and the Hueb brand.

               3.      If and when Defendants use the surname Hueb with “Thiago Hueb” and

“Priscila Hueb” to conduct business in the jewelry industry during the pendency of this Order,

Defendants shall include a disclaimer “Not associated with FR Hueb Inc., H Stylized, or the Hueb

brand” and/or clearly associate themselves with another entity, which shall utilize a similar

disclaimer. In the event Defendants choose the latter option, the name of the entity they establish

shall not contain the word “Hueb.”

               4.      All of the above is in force and effect until March 23, 2022, but subject to

the parties’ extension and either party may seek a temporary or preliminary injunction from the

Court and is entered without prejudice to either party’s rights.




                                                              ______________________________
                                                               Honorable Ronnie Abrams, U.S.D.J




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